          Case 1:20-cv-10564-PBS Document 125 Filed 06/07/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS
                                  EASTERN DIVISION

 SYNKLOUD TECHNOLOGIES, LLC,


                      Plaintiff,                    Civil Action No. 1:20-cv-10564


 v.                                                 JURY TRIAL DEMANDED


 NUANCE COMMUNICATIONS, INC.,


                      Defendant.

                             JOINT LETTER REGARDING ADR

         Plaintiff and counter-defendant SynKloud Technologies, LLC and Defendant and

counterclaimant Nuance Communications, Inc. hereby submit this Joint Letter to the Court

pursuant to the Court’s Order of June 1, 2022 (ECF No. 124). The parties have conferred and

decided not to seek further mediation in this matter.

Dated: June 7, 2022

      Respectfully Submitted by:

      LAMKIN IP DEFENSE
                                                   HARBOR LAW GROUP
      /s/ Rachael Lamkin______________
                                                   /s/ Catherine Rajwani______________
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         Case 1:20-cv-10564-PBS Document 125 Filed 06/07/22 Page 2 of 2




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    Attorneys for Defendant
    Nuance Communications, Inc.



                                  CERTIFICATE OF SERVICE

         I hereby certify that on this date, I electronically filed the foregoing letter with the Clerk
of Court using the CM/ECF system, which will automatically send email notification of such
filing to all attorneys of record.

Dated: June 7, 2022                                    /s/Catherine I. Rajwani
                                                        Catherine I. Rajwani




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